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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                  COMPLAINT

             - against -                                  (21 U.S.C. §§ 952(a) and 960)

DAVID URREGO ARTEAGA,                                     Case No. 23-320 M

                           Defendant.

---------------------------X

EASTERN DISTRICT OF NEW YORK, SS:

                KELSEY O’DONNELL, being duly sworn, deposes and states that she is a

Special Agent with the United States Department of Homeland Security, Homeland Security

Investigations, duly appointed according to law and acting as such.

                On or about April 1, 2023, within the Eastern District of New York and

elsewhere, the defendant DAVID URREGO ARTEAGA did knowingly and intentionally import

one or more controlled substances into the United States from a place outside thereof, which

offense involved a substance containing methamphetamine, a Schedule II controlled substance.

                (Title 21, United States Code, Section 952(a) and 960)

                The source of your deponent’s information and the grounds for her belief are as

follows: 1

                1.         I am a Special Agent with the United States Department of Homeland

Security, Homeland Security Investigations (“HSI”) and have been since 2020. I am currently



        1
               Because the purpose of this Complaint is to set forth only those facts necessary
to establish probable cause to arrest, I have not described all the relevant facts and
circumstances of which I am aware.
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assigned to the New York City Airport Border Enforcement Security Task Force Contraband

Team I. During my time with HSI, I have been involved in the investigation of numerous cases

involving drug trafficking and interdiction operations, including methamphetamine and drug

trafficking through airports. I am familiar with the facts and circumstances set forth below from

my participation in the investigation; my review of the investigative file, including the

defendant’s criminal history record; and from reports of other law enforcement officers involved

in the investigation.

               2.       On or about April 1, 2023, at approximately 5:15 a.m., the defendant

DAVID URREGO ARTEAGA arrived at John F. Kennedy International Airport (“JFK”) in

Queens, New York aboard Avianca S.A. airlines flight 42 from Rio Negro, Colombia.

               3.       During the screening process as part of the defendant’s entry into the

United States, officers with the United States Customs and Border Protection (“CBP”) selected

the defendant for secondary screening while he was in the Custom’s area of the airport. At that

time, CBP officers examined the defendant’s backpack and observed what felt like a hard,

crunchy substance in the lining of the bag. CBP officers then searched the defendant’s bag and

observed a plastic bag containing a rocky substance concealed in the bag’s lining.

               4.       A field test of the hard, rocky substance revealed the presence of

methamphetamine. The lining of the bag also contained another substance which was identified

through the use of a field test to be norephedrine hydrochloride. I know from my training and

experience, that this substance is a precursor used in the process of making methamphetamine.
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              5.      The below photograph depicts the methamphetamine and norephedrine

hydrochloride recovered from the defendant’s bag:




              6.      In total, the plastic bag containing the hard, rocky substance identified as

methamphetamine weighs approximately 70.18 grams.

              7.      Officers also observed plastic bags and a scale inside of the defendant’s

bag. I know from my training and experience that the plastic bags and scale observed inside of
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the defendant’s bag are consistent with the distribution of controlled substances. These items

are depicted in the below photograph:




               8.     Following the recovery of the methamphetamine from the defendant’s

backpack, the defendant was provided with Miranda warnings and agreed to speak with

investigators. At that time, the defendant admitted, in sum and substance, that he is involved

with the distribution of controlled substances in the United States. Investigators also conducted

a border search of the defendant’s cell phone which revealed pictures of packages which appear

to contain methamphetamine. The cell phone also contained conversations which I recognize

from my training and experience appear to refer to the sale of controlled substances.

               9.     Subsequently, the defendant was placed under arrest.
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              WHEREFORE, your deponent respectfully requests that the defendant DAVID

URREGO, be dealt with according to law.
                                                                                   Digitally signed by
                                                                        KELSEY L   KELSEY L ODONNELL
                                                                                   Date: 2023.04.01
                                                                        ODONNELL   15:24:48 -04'00'




                                          KELSEY O’DONNELL
                                          Special Agent, United States Department of
                                          Homeland Security, Homeland Security
                                          Investigations

Sworn to before me telephonically
on April _1___, 2023

      S/ Peggy Kuo
__________________________________________
THE HONORABLE PEGGY KUO
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
